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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     OASIS FOCUS FUND LP,                               Case No. 22-mc-80291-SK
                                   8                    Plaintiff,
                                                                                            ORDER SETTING BRIEFING
                                   9             v.                                         SCHEDULE
                                  10     NEW WAVE MMXV LIMITED,
                                                                                            Regarding Docket No. 1
                                  11                    Defendant.

                                  12          On October 28, 2022, non-party New Wave MMXV Limited (“Petitioner”) filed a
Northern District of California
 United States District Court




                                  13   motion to quash a subpoena issued by Oasis Fund Action LP (“Oasis”). Oasis may file an
                                  14   opposition to the motion to quash by no later than November 21, 2022. Petitioner may file it’s

                                  15   reply, if any, by no later than November 30, 2022. The Court HEREBY ORDERS Petitioner to

                                  16   serve a copy of this Order by no later than November 7, 2022 and to file a proof of service by no

                                  17   later than November 9, 2022. The Court will set a hearing, if necessary, at a later date.

                                  18          IT IS SO ORDERED.

                                  19   Dated: November 3, 2022

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                                                                                       SALLIE KIM
                                  21                                                   United States Magistrate Judge
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